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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -------------------------------------------------------------X
  SUPERB MOTORS INC. et al.,

                                     Plaintiffs,
                                                                                ORDER
                   -against-                                                23-CV-6188 (JMW)

  ANTHONY DEO et al.,

                                      Defendants.
  -------------------------------------------------------------X
  A P P E A R A N C E S:
          Emanuel Kataev
          Sage Legal LLC
          18211 Jamaica Avenue
          Jamaica, NY 11423
          Attorneys for Plaintiffs Superb Motors Inc.,
          Team Auto Sales LLC and Robert Anthony Urrutia

          Jeffrey Benjamin
          The Linden Law Group, PC
          250 Park Avenue
          Ste 7th Floor
          New York, NY 10177
          Defendants Anthony and Sarah Deo, Dwight Blankenship, Marc Merckling, Michael
          Laurie, Car Buyers NYC, Inc., Gold Coast Cars of Syosset LLC, Gold Coast Cars of
          Sunrise LLC, Gold Coast Motors Automotive Group LLC, Gold Coast Motors of LIC
          LLC, Gold Coast Motors of Roslyn LLC, Gold Coast Motors of Smithtown LLC, UEA
          Premier Motors Corp.

          Harry R. Thomasson
          3280 Sunrise Highway, Ste Box 112
          Wantagh, NY 11793
          Defendant Appearing Pro Se

          No appearances by other Parties




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  WICKS, Magistrate Judge:

            On May 22, 2025, and May 23, 2025, this Court issued Orders on Deo Defendants’ 1

  Third Motion for Contempt (ECF No. 225) and Superb Plaintiffs’ 2 (“Superb” or “Plaintiffs”)

  Emergency Motion for Order to Show Cause (ECF No. 280). (See ECF Nos. 279, 286;

  Electronic Order dated 5/23/2025.) Now before the Court is Superb Plaintiffs’ Motion for

  Reconsideration and moving papers on rulings that this Court made within those Orders (ECF

  Nos. 292-94), Harry Thomasson’s Opposition (ECF No. 299), Deo Defendants’ Opposition

  (ECF No. 300), and Superb Plaintiffs’ Reply (ECF Nos. 303-04). For the reasons that follow,

  Superb Plaintiffs’ Motion for Reconsideration (ECF No. 292) is DENIED.

                                         LEGAL FRAMEWORK
            Motions for reconsideration may be filed pursuant to Fed. R. Civ. P. 59(e) or 60(b), as

  well as Rule 6.3 of the Local Rules of the United States District Courts for the Southern and

  Eastern Districts of New York. Under Local Rule 6.3, a party has fourteen (14) days following

  the entry of a court order to serve a notice of motion with an accompanying memorandum, that

  sets forth succinctly the issues, facts, or laws that were overlooked. Loc. Civ. R. 6.3. Failure to

  comply with these requirements warrants denial of the motion. See R.F.M.A.S., Inc. v. Mimi So,

  640 F. Supp. 2d 506, 509 (S.D.N.Y. 2009) (“A court must narrowly construe and strictly apply

  Rule 6.3 so as to avoid duplicative rulings on previously considered issues and to prevent Rule

  6.3 from being used to advance different theories not previously argued, or as a substitute for



  1
   “Deo Defendants” are Anthony Deo, Sarah Deo, Harry Thomasson, Dwight Blankenship, Marc
  Merckling, Michael Laurie, Car Buyers NYC Inc., Gold Coast Cars of Syosset LLC, Gold Coast Cars of
  Sunrise LLC, Gold Coast Motors Automotive Group LLC, Gold Coast Motors of LIC LLC, Gold Coast
  Motors of Roslyn LLC, Gold Coast Motors of Smithtown LLC, and UEA Premier Motors Corp.
  However, Harry Thomasson now represents himself as a pro se defendant.
  2
      Superb Plaintiffs are Superb Motors Inc., Team Auto Sales LLC and Robert Anthony Urrutia.

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  appealing a final judgment.”). The standards for reconsideration under Local Rule 6.3 and Fed.

  R. Civ. P. 59 are one of the same. NEM Re Receivables, LLC v. Fortress Re, Inc., 187 F. Supp. 3d

  390, 394 n.2 (S.D.N.Y. 2016).

         Even if considered, a motion for reconsideration “is appropriate when the moving party

  can demonstrate that the Court overlooked controlling decisions or factual matters that were put

  before it on the underlying motion . . . and which, had they been considered, might have

  reasonably altered the result before the court.” Herschaft v. N.Y.C. Campaign Fin. Bd., 139 F.

  Supp. 2d 282, 283 (E.D.N.Y. 2001) (internal quotation marks and citation omitted). Notably, “a

  party may not advance new facts, issues, or arguments not previously presented to the Court on a

  motion for reconsideration.” Superior Site Work, Inc. v. NASDI, LLC, No. 14-cv-01061 (ADS)

  (SIL), 2017 U.S. Dist. LEXIS 77453, at *4 (E.D.N.Y. May 22, 2017) (internal quotations

  omitted); see also Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d 36, 52 (2d Cir. 2012)

  (citations omitted) (noting that a motion for reconsideration is not a vehicle for relitigating old

  issues, presenting the case under new theories, securing a rehearing on the merits, or otherwise

  taking a second bite at the apple). Put simply, a reconsideration motion is not appropriate to

  simply secure a “do-over.” See Schansman v. Sberbank of Russia PJSC, No. 19-CV-2985 (ALC)

  (GWG), 2025 WL 1288670, at *2 (S.D.N.Y. May 5, 2025) (collecting cases) (Parties are “barred

  from making for the first time in a motion for reconsideration an argument it could readily have

  raised when the underlying issue was being briefed but chose not to do so.”)

         All that said, reconsideration is warranted only when: (i) the moving party points to an

  intervening change in controlling law, (ii) newly available evidence is identified, (iii) clear error

  is established, or (iv) reconsideration is necessary to avoid a manifest injustice. See Cho v.

  Blackberry Ltd., 991 F.3d 155, 170 (2d Cir. 2021); Kolel Beth Yechiel Mechil of Tartikov, Inc. v.



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  YLL Irrevocable Tr., 729 F.3d 99, 104 (2d Cir. 2013) (same); T.Z. v. City of New York, 634 F.

  Supp. 2d 263, 268 (E.D.N.Y. 2009) (same). Moreover, Rule 60(b) permits relief from an order or

  judgment for mistake, inadvertence, surprise, excusable neglect, newly discovered evidence,

  fraud, or in exceptional or extraordinary circumstances. Fed. R. Civ. P. 60(b). The question,

  therefore, is whether any of these grounds have been met. And, it is also within the sound

  discretion of the district court to decide whether or not to grant a motion for reconsideration. See

  Gupta v. Attorney Gen. of United States, 52 F. Supp. 3d 677, 679-80 (S.D.N.Y. 2014); Rivas v.

  Melecio, No. 23-CV-05718 (JMA), 2024 WL 1096065, at *1 (E.D.N.Y. Feb. 21, 2024).

         Reconsideration “must be narrowly construed and strictly applied so as to avoid

  duplicative rulings on previously considered issues.” In re Bouka, 654 F. Supp. 3d 283, 286

  (S.D.N.Y. 2023) (quoting Merced Irrigation Dist. v. Barclays Bank PLC, 178 F. Supp. 3d 181,

  183 (S.D.N.Y. 2016)). Thus, “[a] narrow application of the rule not only ‘helps [] to ensure the

  finality of decisions,’ but also ‘prevent[s] the practice of a losing party examining a decision and

  then plugging the gaps of a lost motion with additional matters.’” Id. (quoting Henderson v.

  Metro. Bank & Tr. Co., 502 F. Supp. 2d 372, 376 (S.D.N.Y. 2007)).

         Keeping these principles in mind, the Court considers the instant motion.

                                            DISCUSSION
         Superb Plaintiffs seek reconsideration of this Court’s (i) May 23, 2025 Order (see ECF

  No. 286) that denied Superb Plaintiffs’ renewed “Emergency Order” to show cause to modify

  the preliminary injunction to permit them to sell the remaining injuncted vehicles, and (ii) May

  22, 2025 Order finding Superb Plaintiffs in contempt for failure to provide odometer readings as

  previously ordered by the Court (ECF No. 279 at 9-10). (ECF No. 292.) Within this Motion,

  Superb Plaintiffs seek related or ancillary relief, which the undersigned addresses accordingly.



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           A brief background is helpful here to shed light on this road that has been well-traveled

  before. On April 29, 2025, Plaintiffs filed a Motion for Order to Show Cause to modify the

  Injunction because the location where the Superb Injuncted Vehicles were held in Connecticut

  was no longer feasible. 3 (See ECF Nos. 256-57.) Plaintiffs also requested that non-party and

  proposed intervenor Nissan Motor Acceptance Company LLC (“Nissan”) be permitted to store

  the Vehicles. (Id.) To address this, the undersigned held a Conference on May 9, 2025. During

  that Conference, Plaintiffs could not provide with certainty any details of where proposed

  intervenor Nissan would store the Vehicles and the Court did not permit the sale of any vehicles

  because Deo Defendants had not retained counsel by this time. 4 (ECF No. 267.) Due to the

  Plaintiff’s failure to provide other locations to store the Vehicles, the undersigned allowed the

  Vehicles to be stored at Deo Defendants’ Lot located in Hicksville, New York, with clear

  instruction on how the Vehicles shall be stored to ensure they are adequately protected and

  directed that the relocation be complete by May 23, 2025. (See id.)

           On May 20, 2025, Plaintiffs moved for reconsideration of the May 9, 2025 Order without

  providing the Court with any overlooked matters. (ECF No. 271.) Specifically, the undersigned

  wrote:

           Plaintiffs seek a ‘do-over’ on the eve of their deadline to deliver the Injuncted
           Superb Vehicles to the Deo Lot. Moreover, Plaintiffs assert that the Court
           overlooked the potential damage that could occur by the Deo Defendants holding
           the Vehicles. Contrary to that assertion, the Court provided clear direction and
           imposed certain conditions to preserve the parties' assets at the last Conference. As
           to the ‘newly available evidence’ that Plaintiffs submit, this still does not provide a
           long-term solution. Specifically, Plaintiffs state that they ‘have negotiated a deal
           with the landlord of the Hartford Lot for the Superb Injuncted Vehicles to remain
           there until the closing date, currently scheduled for June 9, 2025, and thereafter to

  3
      The Superb Injuncted Vehicles are defined in ECF No. 55.
  4
   Prior Counsel to Deo Defendants filed a Motion to Withdraw as counsel. (ECF No. 242.) The Court
  granted this motion and as a result, Deo Defendants did not have Counsel until May 21, 2025. (See
  Electronic Order dated 4/22/2025; ECF No. 276.)

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          either remain at the Hartford Lot pending a deal with the purchaser of the Hartford
          Lot, or to be moved less than fifteen (15) miles away to 223 Broad Street, Bristol,
          CT 06010 (the ‘New Premises’) subject to the Superb Plaintiffs' agreement with the
          landlord for the New Premises.’ These proposed modifications are not concrete and
          are subject to the agreements of two third parties, the New Premises landlord or the
          new purchaser of the Hartford Lot. Absent here is evidence that would reasonably
          alter the undersigned's conclusion at the previous Conference.

  (Electronic Order May 21, 2025.) So, the undersigned denied that motion. (Id.)

          On May 21, 2025, Counsel for Deo Defendants filed a notice of appearance. (ECF No.

  276.) On May 22, 2025, Mr. Thomasson requested that the Vehicles be delivered with the keys,

  title documents and by 6:00pm on May 23, 2025, which this Court granted. (ECF No. 277;

  Electronic Order dated 5/22/2025.)

          Approximately twenty-four hours before the deadline to deliver the Vehicles, Plaintiffs

  filed an “Emergency MOTION for Order to Show Cause to permit the sale of the remaining

  Superb Injuncted Vehicles owned.” (ECF No. 280.) Due to the timeframe and nature of this

  application, the undersigned held a virtual hearing to provide Plaintiffs with an opportunity to be

  heard. (See Electronic Order dated 5/23/2025.) To summarize this proceeding, the undersigned

  asked that Plaintiffs articulate the irreparable harm they would suffer if the motion were denied.

  Without addressing irreparable harm, Plaintiffs focused instead on the cost of relocating the

  Vehicles. (See ECF No. 290.) Notably, Plaintiffs were afforded from May 9, 2025 to May 23,

  2025 to make arrangements and learn of the costs. With that, the undersigned denied the

  application stating, “the grounds urged to modify the injunction - the cost to move vehicles and

  the threat that Plaintiffs will be in contempt - does not establish irreparable harm sufficient to

  modify the Injunction which was modified on May 9, 2025.” (Electronic Order dated 5/23/2025;

  ECF No. 290.) That same day, Plaintiffs filed a Notice of Appeal. (ECF No. 285.) 5 In sum,


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   The Second Circuit has stayed the time to review the appeal until the present Motion is addressed. (See
  ECF No. 295.)

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  Plaintiffs have moved for reconsideration in one way or another three times including the instant

  motion. (ECF Nos. 271, 280, 292.)

          As an initial matter, the undersigned recognizes that this Court has jurisdiction to decide

  the instant motion while an appeal is pending before the Second Circuit. See Shomo v. Eckert,

  755 F. Supp. 3d 344, 347 (W.D.N.Y. 2024) (“Normally the filing of a notice of appeal would

  divest this Court of jurisdiction, … but a timely motion under Rule 59(e) or Rule 60(b) typically

  means that any subsequent notice of appeal does not become effective until the order disposing

  of the motion under Rule 59(e) or Rule 60(b) is entered[.] … This principle has been extended to

  Rule 59(e) and Rule 60(b) motions filed after an appeal has been taken. “); Martinez v.

  Hasper, No. 15-CV-5724 (EK)(LB), 2022 WL 118720, at *1 (E.D.N.Y. Jan. 12, 2022) (collecting

  cases) (“District courts in the Southern and Eastern Districts of New York have generally

  concluded that they have jurisdiction to resolve timely filed motions under Rule 59(e) and Rule

  60(b) even where a notice of appeal is filed before one of those motions.”)

     I.      Reconsideration

          Here, although the Superb Plaintiffs do not inform the Court the Rule under which

  reconsideration is sought, the Court reviews this motion under Local Rule 6.3, and Fed. R. Civ.

  P. 59 and 60.

          Local Rule 6.3 states “a notice of motion for reconsideration must be served within 14

  days after the entry of the court’s order being challenged,” which is complied with here. See Loc.

  Civ. R. 6.3. Likewise, under Fed. R. Civ. P. 59(e), the Motion is procedurally proper. See Fed. R.

  Civ. P. 59(e) (“A motion to alter or amend a judgment must be filed no later than 28 days after

  the entry of the judgment.”). Since Rule 59 outlines the same standard for reconsideration as

  Local Rule 6.3 requires, the undersigned analyzes this motion under these rules together. See



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  Naiman v. New York Univ. Hosps. Ctr., No. 95-CV-6469 (RPP), 2005 WL 926904, at *1

  (S.D.N.Y. Apr. 21, 2005) (“Motions for reconsideration pursuant to Rule 59(e) of the Federal

  Rules of Civil Procedure are governed by the same standards as those governing motions under

  Rule 6.3 of the Local Civil Rules of the U.S. District Courts for the Southern and Eastern

  Districts of New York.”); Henderson, 502 F. Supp. 2d at 375 (same); Levitant v. Workers Comp.

  Bd. of New York, No. 16-CV-6990 (ER), 2019 WL 5853438, at *1 (S.D.N.Y. Nov. 8, 2019) (“The

  standards for relief’ under Rule 59(e) are ‘identical’ to those for motions for reconsideration

  under Local Civil Rule 6.3.”)

         Having determined that proper procedure was followed, the Court proceeds to analyze

  the merits of the motion. “The standard for granting a motion for reconsideration is strict:

  ‘reconsideration will generally be denied unless the moving party can point to controlling

  decisions or data that the court overlooked — matters, in other words, that might reasonably be

  expected to alter the conclusion reached by the court.’” Cuomo v. Off. of the New York State Att'y

  Gen., 727 F. Supp. 3d 231, 234 (E.D.N.Y. 2024) (quoting Shrader v. CSX Transp., Inc., 70 F.3d

  255, 257 (2d Cir. 1995)).

         Moreover, Fed. R. Civ. P. 60(b) provides:

         On motion and just terms, the court may relieve a party or its legal representative
         from a final judgment, order, or proceeding for the following reasons: (1) mistake,
         inadvertence, surprise, or excusable neglect; (2) newly discovered evidence that,
         with reasonable diligence, could not have been discovered in time to move for a
         new trial under Rule 59(b); (3) fraud (whether previously called intrinsic or
         extrinsic), misrepresentation, or misconduct by an opposing party; (4) the judgment
         is void; (5) the judgment has been satisfied, released, or discharged; it is based on
         an earlier judgment that has been reversed or vacated; or applying it prospectively
         is no longer equitable; or (6) any other reason that justifies relief.

  Fed. R. Civ. P. 60(b).




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         A. Finding of Contempt

         As for Superb Plaintiffs’ assertion that the Court overlooked any facts regarding this

  Court’s finding of contempt, that is incorrect. Indeed, Superb Plaintiffs decided to ignore Deo

  Defendants’ arguments on the three missing odometer readings in their Opposition papers and

  focused primarily on the issue of whether additional miles were placed on the vehicles. (ECF

  Nos. 227-28.) Given that the Court was not offered any opposition to the failure to provide the

  three odometer readings, an Order was issued finding Superb Plaintiffs in contempt for failure to

  provide odometer readings. (ECF No. 279 at 9-10.) Now, Superb Plaintiffs in the eleventh hour

  inform the Court that it “overlooked the fact the Superb Plaintiffs previously reported to this

  Court that the 2016 F150 was repossessed in March 2024 such that they could not submit

  odometer readings by January 2025.” (ECF No. 293 at 5.) Superb Plaintiffs point to ECF No.

  157-1 at ¶ 74 n. 9, where Superb Plaintiffs stated “[f]or example, one Injuncted Superb Vehicle

  bearing VIN No.: 1FTEW1EF1GFB67420 was recently repossessed by a repo company because

  the Deo Defendants never paid the outstanding lien on it, which they obtained as a trade-in[.]”

  (Id. at 1.) The Court now takes judicial notice that Superb Plaintiffs in a footnote on an unrelated

  filing indicated this fact over a year ago in their Proposed Findings of Fact & Conclusions of

  Law in Support of Their Motion for Modify the Preliminary Injunction. (See ECF No. 157.)

  However, nowhere in opposition to the contempt motion was that raised. Plaintiff ‘s suggestion

  that the Court should undertake the role of a truffle hog in search of facts not raised is rejected.

  See Tyson v. Town of Ramapo, 17-CV-04990 (PMH), 2023 WL 3044623, at *1 (S.D.N.Y. Apr. 21,

  2023) (“Judges are not like pigs, hunting for truffles buried in briefs or the record”). Thus, the

  Court did not overlook any facts that were provided, presented or argued in Superb Plaintiffs’

  Opposition.



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       With that, the Court’s finding of contempt on the part of Superb Plaintiffs for failure to

provide odometer readings for the following vehicles: (1) 2016 Ford F‐150 – VIN

#1FTEW1EF1GFB67420, (2) 2021 Isuzu Flatbed – VIN #JALE5W162M7301006, and (3) 2020

Isuzu Flatbed – VIN #JALE5W164L7306190, was warranted. However, even considering now

the prior repossession of the 2016 Ford F-150 vehicle with a VIN number ending in 7420, the

Superb Plaintiffs are nevertheless in contempt for admittedly failing to provide an odometer

reading with respect to the two other vehicles with VIN numbers ending in 1006 and 6190.

Superb Plaintiffs’ assertion that Counsel, Mr. Kataev “failed to submit odometer readings for the

two (2) Isuzu trucks due to an oversight” is a reason to reconsider “an award of attorneys’ fees

for the failure to provide the odometer readings for the three (3) vehicles is warranted,” is not a

basis for reconsideration. (ECF No. 293 at 5.) First and foremost, the Court did not overlook this

fact as it was not provided to the undersigned nor is Counsel’s “oversight” a conceivable reason

for the Court to change its decision. As previously mentioned, motions for reconsideration are

not an opportunity for a party to request a do-over. See Sanmina Corp. v. Dialight PLC, No. 19-

CV-11710, 2023 WL 11898806, at *3 (S.D.N.Y. Dec. 29, 2023) (internal citations omitted)

(“Importantly, a reconsideration motion is not a vehicle (i) to ‘introduce additional facts not in

the record on the original motion’; (ii) to ‘advance[ ] new arguments or issues that could have

been raised on the original motion’; or (iii) to ‘relitigate an issue already decided.’”)

       Therefore, under either Rule (Local Rule 6.3 or Federal Rules 59(e) and 60(b)), Superb

Plaintiffs’ Motion for Reconsideration is denied with the Court acknowledgement that the F-150

has been repossessed, which does not change the outcome of the earlier contempt Order.




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       B. The May 23, 2025 Order

       Next, Plaintiffs write to the Court stating “because Team is a party to this case, and since

Superb was found to have established irreparable harm due to its closure to permit the sale of the

vehicles it owns, Team should similarly be found to have established irreparable harm due to its

closure in March 2025 such that this Court should reconsider its May 23, 2025 denial of the

Superb Plaintiffs’ Order to show cause and permit the vehicles Team owns to similarly be sold.”

(ECF No. 293 at 6.) In Superb’s supporting papers, they outline the status of the Vehicles.

Currently, there are thirteen vehicles remaining from the thirty because: (i) twelve vehicles were

recently sold pursuant to this Court’s May 8, 2024 Order allowing for the sale (ECF No. 172),

(ii) two vehicles were also sold by Nissan without as alleged Superb’s involvement, (iii) two

more vehicles, specifically the two flatbed trucks were repossessed and sold by non-party Next

Gear Capital Inc., again as alleged without Superb’s involvement and (iv) the 2016 Ford F-150

was likewise repossessed by non-party LendBuzz Funding in March of 2024. (ECF No. 294 at ¶¶

61-97.) Plaintiffs have now clarified that the remaining thirteen Vehicles are owned by Team

Auto Sales LLC, a party to this case, whereas prior to this there were Vehicles owned by non-

parties. (Id. at ¶¶ 97-102.) Although this is news to the Court and considered new evidence, this

is not something that the undersigned overlooked. Put simply, when the Court denied the sale of

the remaining Superb Injuncted Vehicles multiple times, Plaintiffs never laid out the status of the

Vehicles as it chose to now, three reconsideration motions later. See City of Austin Police Ret.

Sys. v. Kinross Gold Corp., 957 F. Supp. 2d 277, 315 (S.D.N.Y. 2013) (“[a] party is barred from

making for the first time in a motion for reconsideration an argument it could readily have raised

when the underlying issue was being briefed but chose not to do so.”)




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       Moreover, Mr. Thomasson in his opposition focuses on the sales and repossessions

conducted by non-parties rather than any argument as to title for the remaining thirteen Vehicles.

(See generally ECF No. 299.) Likewise, Deo Defendants join Mr. Thomasson’s opposition in full

and adds that this Court restrict Plaintiffs from filing further motions, which at this stage, the

Court declines to do. (See ECF No. 300.)

       As to the merits of the motion for reconsideration made under either Local Rule 6.3 and

Federal Rules 59(e) and 60(b), there are no grounds to change or modify the Court’s earlier

Order. See Loc. Civ. R. 6.3 (“There must be served with the notice of motion a memorandum

setting forth concisely the matters or controlling decisions which the moving party believes the

court has overlooked.”); see Blue Castle (Cayman) Ltd. v. Jones, No. 2:24-CV-953 (NJC) (ARL),

2025 WL 51215, at *1 (E.D.N.Y. Jan. 8, 2025) (“Plaintiff has not identified any intervening

change in controlling law, new evidence, mistake, or the need to correct clear error that would

warrant reconsideration under Rules 59, 60, or Local Rule 6.3.”) Since “[r]econsideration of a

court's previous order is an ‘extraordinary remedy to be employed sparingly in the interests of

finality and conservation of scarce judicial resources[,]’” the court declines the instant motion.

Levitant, 2019 WL 5853438, at *1 (quoting Parrish v. Sollecito, 253 F. Supp. 2d 713, 715

(S.D.N.Y. 2003)). This is because the motion fails to identify how the Court overlooked facts that

would change the previous outcome. See Shrader, 70 F.3d at 257 (“The standard for granting [a

motion for reconsideration] is strict, and reconsideration will generally be denied unless the

moving party can point to controlling decisions or data that the court overlooked-matters, in

other words, that might reasonably be expected to alter the conclusion reached by the court.”); B

& R Supermarket, Inc. v. Visa Inc., No. 17-CV-2738 (MKB), 2025 WL 510041, at *2 (E.D.N.Y.




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Feb. 14, 2025) (same). The absence of any allegations that the Court overlooked any material

facts, misapplied the law, or that circumstances have changed, leads to denial.

   II.       Other Requested Relief

         Plaintiffs include other varied requests within the instant motion.

         First, Plaintiffs seek a stay pending the Second Circuit’s decision on appeal. (ECF No.

293 at 3.) The Court finds this request reasonable and thus grants a stay pending resolution of the

appeal from the Order. See Mills v. Everest Reinsurance Co., 771 F. Supp. 2d 270, 273 (S.D.N.Y.

2009) (“When issuing a certificate of appealability, the court also has the discretion to stay the

proceedings; such stay is not automatic, however.”) In connection with this request, Plaintiffs

further ask that if the Second Circuit denies the appeal or the Order affirmed, that they receive an

extension of two weeks from that date to arrange for the delivery of the Vehicles. (ECF No. 293

at 3.) The stay issued herein will remain in effect for five days following decision entered by the

Second Circuit to enable compliance.

         Second, Plaintiffs aver that the Court erred in making a determination that Superb

encumbered the Vehicles when they entered into the “Surrender Agreement” in January of this

year with Nissan. (Id.) Plaintiffs cite a provision within that Agreement for the proposition that

no encumbrance occurred due to a carve out, which states,

         The Parties hereby agree that nothing within this Possession and Surrender
         Agreement addresses, disposes of, or otherwise changes the legal status,
         possession, or location of the Enjoined Vehicles. The Parties agree that NMAC and
         Obligors reserve all rights with respect to the Enjoined Vehicles, to be determined
         at a later date and after either (a) the injunction has been lifted, or (b) another order
         from a court of competent jurisdiction directs disposition of the Enjoined Vehicles.

(Id.) (emphasis in original). When the Court issued a ruling on Nissan’s Motion to Intervene

(ECF No. 229), the undersigned reviewed this provision and determined that this was an

encumbrance. In simple words, Plaintiffs by signing this agreement far after the entry of the

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Injunction, allowed Nissan to have an interest in the property by “reserve[ing] all rights with

respect to the Enjoined Vehicles, to be determined at a later date.” (ECF No. 293 at 3.) Even

though there is language that Nissan would determine its rights after the Injunction is lifted or

otherwise ordered by the Court, it enables Nissan to have stake in the Vehicles. The definition of

encumbrance is: “a claim against an asset by an entity that is not the owner. Common types of

encumbrances against real property include liens, easements, leases, mortgages, or restrictive

covenants. Encumbrances impact the transferability and/or use of subjected properties.” 6

Therefore, the Court did not err in its determination.

       Third, Plaintiffs discuss the sales of the Vehicles by Nissan and Next Gear Capital Inc., to

set forth that they were not part of these actions. (ECF No. 293 at 4.) The Court declines to

address these at this juncture as there will be anticipated motions by the parties for the merits of

both the sale of the twelve Superb Injuncted Vehicles as well as the sales conducted by third

parties as indicated in Oppositions to this Motion and the Motion to Transfer Funds to Escrow.

(See ECF Nos. 299-301.)




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 LEGAL INFORMATION INSTITUTE, Encumbrance, https://www.law.cornell.edu/wex/encumbrance (last
visited on June 24, 2025, at 9:00PM).

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                                        CONCLUSION
       For the reasons stated herein, Superb Plaintiff’s Motion for Reconsideration (ECF No.

292) is DENIED, and a stay of the May 23, 2025, Order concerning relocation of the Vehicles is

granted through and including five days after decision is entered by the Second Circuit.

Dated: Central Islip, New York
       June 26, 2025
                                                        S O     O R D E R E D:

                                                         /S/James M. Wicks
                                                             JAMES M. WICKS
                                                        United States Magistrate Judge




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